            Case 8:22-cv-02001-PX Document 33 Filed 10/04/23 Page 1 of 3



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

TIFFANY JOHNSON,                               *

         Plaintiff,                            *
v.                                                     Civil Action No. 8:22-cv-02001-PX
                                               *       (lead)
CONTINENTAL FINANCE COMPANY,
LLC; CONTINENTAL PURCHASING,                   *
LLC; CKS PRIME INVESTMENTS, LLC,
                                               *
         Defendants.
                                               *

TRACEY CRIDER,                                 *
         Plaintiff,
                                               *       Civil Action No. 8:23-cv-00854-PX
v.
                                                       (member)
                                               *
CONTINENTAL FINANCE COMPANY,
LLC; CONTINENTAL PURCHASING,
                                               *
LLC; CKS PRIME INVESTMENTS, LLC,

                                               *
         Defendants.

     *        *        *      *    *       *       *        *      *      *     *      *

                                    NOTICE OF APPEAL

         Notice is hereby given that Defendants Continental Finance Company, LLC and

Continental Purchasing, LLC (collectively, “Continental”) hereby appeal to the United States

Court of Appeals for the Fourth Circuit. Continental appeals from this Court’s September 7, 2023

Memorandum Opinion (ECF No. 22 in the lead case) and September 7, 2023 Order (ECF No. 23

in the lead case) denying both of Continental’s Motions to Compel Arbitration and Stay

Proceedings and to Strike Class Allegations in these two consolidated cases.
         Case 8:22-cv-02001-PX Document 33 Filed 10/04/23 Page 2 of 3



Dated: October 4, 2023              Respectfully submitted,

                                    /s/ Melissa O. Martinez
                                    Melissa O. Martinez (Fed. Bar No. 28975)
                                    MCGUIREWOODS LLP
                                    500 East Pratt Street
                                    Suite 1000
                                    Baltimore, MD 21202
                                    410-659-4400
                                    410-659-4482 (Fax)
                                    mmartinez@mcguirewoods.com

                                    Counsel for Continental Finance Company, LLC
                                    and Continental Purchasing LLC




                                       2
          Case 8:22-cv-02001-PX Document 33 Filed 10/04/23 Page 3 of 3



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 4, 2023, the foregoing copy of Continental Finance

Company, LLC and Continental Purchasing, LLC’s Notice of Appeal was electronically filed via

the Court’s CM/ECF system and served on all counsel of record.



                                           /s/ Melissa O. Martinez
                                           Melissa O. Martinez




                                              3
